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REPLY IN SUPPORT OF PLAINTIFFS’
REQUEST TO TAKE JUDICIAL NOTICE (Dkt 44) - 1
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        IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

PLANNED PARENTHOOD OF THE
GREAT NORTHWEST AND THE
HAWAIIAN ISLANDS, a Washington                     Case No. 1:18-cv-00555-REB
corporation; MARY STARK, on behalf of
herself and her patients,                          REPLY IN SUPPORT OF PLAINTIFFS’
                                                   REQUEST TO TAKE JUDICIAL NOTICE
                       Plaintiffs,                 (Dkt 44)

         v.

LAWRENCE G. WASDEN, in his official
capacity as Attorney General of Idaho;
JAN M. BENNETTS, in her official
capacity as Ada County Prosecuting
Attorney; GRANT P. LOEBS, in his
official capacity as Twin Falls County
Prosecuting Attorney; THE INDIVIDUAL
MEMBERS OF THE STATE BOARD OF
MEDICINE, in their official capacity; THE
INDIVIDUAL MEMBERS OF THE
STATE BOARD OF NURSING, in their
official capacity,

                       Defendants.



         Plaintiffs’ request for judicial notice (Dkt. 44) should be granted. Contrary to

Defendants’ objection, the documents at issue are appropriate for judicial notice because they are

relevant to the plausibility of Plaintiffs’ claims, particularly in the context of a motion to dismiss.

Banks v. Clark County, Nev., 461 F. App’x 585, 587 (9th Cir. 2011).

         Whether a court may take judicial notice of another proceeding is fact-specific. The facts

and circumstances of this case weigh in favor of the Court taking judicial notice of the joint

motion and proposed order filed in Planned Parenthood of the Great Nw. & the Hawaiian

Islands v. Wasden, No. 1:15-cv-00557-EJL (D. Idaho Dec. 1, 2015) (the “2015 Case”), ECF No.

40 and 40-2. The documents are relevant to the plausibility of Plaintiffs’ claims here.

Defendants’ challenge is puzzling because Defendants themselves sought judicial notice of two



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filings in the very same case. See Dkt. 34 (Defendants’ Request to Take Judicial

Notice). Defendants asked the Court, without opposition from Plaintiffs, to take judicial notice

of the Complaint and Stipulated Facts filed in the 2015 Case. Id. In doing so, Defendants ask

the Court to consider the factual allegations and stipulated facts asserted in the 2015 Case for

their own purposes, but not to consider subsequent filings in the same case for Plaintiffs’

purposes. Defendants’ position is disingenuous, at best.

         Judicial notice of the joint motion and proposed order are proper here. They offer

relevant contextual information to support the plausibility of Plaintiffs’ claims. In their motion

to dismiss, Defendants contend the challenged APC Ban is not “state action.” The very same

Defendants, however, took the opposite position in the joint motion filed in the 2015 Case. In

the 2015 Case, Defendants took the position that a state ban on using telemedicine to provide

abortion "impose[d] an undue burden on women’s access to abortion and therefore violate[d] the

Fourteenth Amendment.” See Dkt 40-2. Restrictions on who can perform an abortion are just as

much “state action” as restrictions on how abortion services can be delivered, and both types of

restrictions are equally subject to the undue burden balancing test.

         Defendants offer no valid basis for disclaiming their position in the 2015 Case. In

opposing Plaintiffs’ request for judicial notice, Defendants make the conclusory assertion that

the joint motion is irrelevant and disputed, but they fail to support either assertion. The fact that

the proposed order to which Defendants agreed in the 2015 Case was never issued by the court

(because in the interim the Idaho legislature repealed the challenged restriction - expressly to end

the litigation) is immaterial. The relevant fact is that Defendants agreed to the proposed order

finding the telemedicine ban unconstitutional, and it is undisputed that they did so.




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         The Washington Attorney General Opinion (the “Opinion”) is likewise subject to judicial

notice. Plaintiffs do not argue, as suggested by the State, that the facts or legal analysis applied

in the Opinion are binding facts in this case. In fact, the Opinion is offered in direct response to

the State’s assertion in the motion to dismiss that “Idaho, like the majority of states, mandates

that only physicians may perform abortions.” See Motion (Dkt. 33) at note 3. The motion

specifically cites Wash. Rev. Code § 9.02.110, which the Washington Attorney General has

since opined is unconstitutional. Plaintiffs do not ask the Court to opine on Washington law or

to rely on the Opinion in analyzing the constitutionality of Idaho law. The Opinion is offered

simply to ensure the Court has current and accurate information regarding the status of related

laws in other states.

         For these reasons, the State’s objection is without merit and Plaintiffs’ request for judicial

notice should be granted.




         DATED: May 24, 2019.                        STOEL RIVES LLP


                                                     /s/ Nicole Hancock
                                                     Nicole Hancock

                                                     Attorneys for Plaintiffs




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 24, 2019, I served a copy of the foregoing REQUEST TO

TAKE JUDICIAL NOTICE (Dkt 44) on CM/ECF Registered Participants as reflected on the

Notice of Electronic Filing as follows:

                  Cynthia Yee Wallace – cynthia.wallace@ag.idaho.gov
                  Attorney for Defendants


                                              /s/ Nicole C. Hancock
                                              Nicole C. Hancock
                                              Attorneys for Plaintiffs




REPLY IN SUPPORT OF PLAINTIFFS’
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